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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                  WEST PALM BEACH DIVISION

                                   Case No.: 9:16-cv-81798-DMM

  TTT Foods Holding Company LLC,
  a Florida limited liability company,
                  Plaintiff,
  v.

  BEATRICE NAMM, an individual,
  JONATHAN NAMM, an individual,
  and DELUXE GOURMET
  SPECIALTIES LLC, a New Jersey
  limited liability company,
                   Defendants.
  _________________________________/

                   DEFENDANTS’ RESPONSE TO PLAINTIFF’S
           MOTION TO STRIKE SECOND AFFIRMATIVE DEFENSES (DOC 55)

          COME NOW the Defendants, BEATRICE NAMM, JONATHAN NAMM, and

  DELUXE GOURMET SPECIALTIES LLC, a New Jersey limited liability company, by and

  through the undersigned attorneys, and file this their reply to Plaintiff’s Motion to Strike Second

  Amended Affirmative Defenses and Incorporated Memorandum of Law (DOC 55), and state in

  support thereof as follows:

                 1.      Plaintiff’s Motion to Strike Second Amended Affirmative Defenses and

  Incorporated Memorandum of Law (DOC 55) seeks to strike 15th Affirmative Defense.

                 2.      Defendants have withdrawn the 15th Affirmative Defense, rendering same

  moot.

                 3.      Prior to the filing of the Plaintiff’s Motion to Strike Second Amended

  Affirmative Defenses and Incorporated Memorandum of Law (DOC 55), there was no Rule


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  7.1(a)(3) conference between the parties.

         WHEREFORE the Defendants request that this Court find that Plaintiff’s Motion to

  Strike Second Amended Affirmative Defenses and Incorporated Memorandum of Law (DOC 55)

  is moot.

                                                      /s/ Agustin R. Benitez
                                                      AGUSTIN R. BENITEZ, ESQUIRE
                                                      BENITEZ LAW GROUP, P.L.
                                                      Florida Bar # 278130
                                                      1223 East Concord Street
                                                      Orlando, Florida 32803
                                                      (407) 894-5000
                                                      (407) 896-8061 (fax)
                                                      Primary E-Mail: Service@ARBenitez.com
                                                      Secondary E-Mail: Gus@ARBenitez.com




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